                                                                       12cv4004 MWB
                                                               Filed: 02/08/12
                                                             U.S. District Court
                              UNITED STATES JUDICIAL PANEL
                                           on              East Dist. of MI Detroit
                               MULTIDISTRICT LITIGATION



IN RE: PACKAGED ICE ANTITRUST
LITIGATION                                                                                     MDL No. 1952



                                  (SEE ATTACHED SCHEDULE)



                         CONDITIONAL TRANSFER ORDER (CTO−7)



On June 5, 2008, the Panel transferred 25 civil action(s) to the United States District Court for the
Eastern District of Michigan for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. §1407. See 560 F.Supp.2d 1359 (J.P.M.L. 2008). Since that time, 32 additional action(s)
have been transferred to the Eastern District of Michigan. With the consent of that court, all such
actions have been assigned to the Honorable Paul D Borman.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Eastern District of Michigan and assigned to
Judge Borman.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. §1407 to the
Eastern District of Michigan for the reasons stated in the order of June 5, 2008, and, with the
consent of that court, assigned to the Honorable Paul D Borman.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Eastern District of Michigan. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                    FOR THE PANEL:
         Feb 08, 2012


                                                    Jeffery N. Lüthi
                                                    Clerk of the Panel
                                                              I hereby certify that the foregoing is a true copy of the
                                                              original on file in this office.

                                                              Clerk, U.S. District Court
                                                              Eastern District of Michigan

                                                               By   Sarah Schoenherr
                                                                      Deputy Clerk
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IN RE: PACKAGED ICE ANTITRUST
LITIGATION                                                                    MDL No. 1952



                   SCHEDULE CTO−7 − TAG−ALONG ACTIONS



 DIST     DIV.     C.A.NO.    CASE CAPTION


ARIZONA

  AZ        2     12−00104    Prentice v. Reddy Ice Holdings Incorporated et al       12-10621

IOWA NORTHERN

 IAN        5     12−04004    DeLoss v. Reddy Ice Holdings, Inc et al      12-10622

MASSACHUSETTS

 MA         1     12−10072    Palombella et al v. Reddy Ice Holdings, Inc. et al      12-10623

MINNESOTA

 MN         0     12−00029    Herron v. Reddy Ice Holdings, Inc. et al     12-10624
MISSISSIPPI NORTHERN

 MSN        3     11−00092    Spencer v. Reddy Ice Holdings, Inc. et al      12-10625

NEBRASKA

  NE        8     12−00007    Croom v Reddy Ice Holdings, et al          12-10626

NORTH CAROLINA MIDDLE

 NCM        1     11−01152    GOODE v. REDDY ICE HOLDINGS, INC., et al                12-10627




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